                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:04-cr-250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
JAQUES MAULICE DEGREE (6)                )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine triggered by the Fair Sentencing Act of 2010. (Doc. No. 718).

       The defendant originally faced a mandatory life sentence, but received a lesser sentence

based on the government’s departure motion. (Doc. No. 704). In determining whether the

defendant is entitled to a further reduction under the amendments to the guidelines, the Court

must calculate the guideline range as if the amendments had been in place at the time of

sentencing. USSG §1B1.10(b)(1). If a statutory mandatory minimum exceeds the guideline

range, the Court must use the statutorily required sentence as the starting point prior to

considerations of departure. USSG §5G1.1(b); United States v. Pillow, 191 F.3d 403, 407 (4th

Cir. 1999). No reduction in sentence is authorized under 18 U.S.C. § 3552(c)(2) when an

amendment has no effect because a statutory mandatory minimum prevents lowering the

guideline range. USSG §1B1.10, comment. (n.1(A)(ii)); United States v. Hood, 556 F.3d 226, 233

(4th Cir. 2009).




    Case 3:04-cr-00250-RJC-DSC             Document 728        Filed 03/05/12      Page 1 of 2
       Here, even if the amendment provides a reduction in offense level under the otherwise

applicable guideline, the resulting range remains trumped by the mandatory life sentence prior to

considerations of departure. Therefore, the defendant is not entitled to relief.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                   Signed: March 5, 2012




                                                  2


    Case 3:04-cr-00250-RJC-DSC             Document 728        Filed 03/05/12      Page 2 of 2
